Case 19-00252-JJG-13           Doc 35      Filed 12/17/19        EOD 12/17/19 08:50:58            Pg 1 of 8
                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


In re:                                              )
Johnny Darrell Lorick,                              ) Case No. 19-00252-JJG-13
Debtor.                                             )
                                                    )

                                         CHAPTER 13 PLAN
                                           Original ____
                                        Amended Plan # __1st__
1. NOTICE TO INTERESTED PARTIES:
  The Debtor must check one box on each line to state whether or not the plan includes each of the
  following items. If an item is checked as “Not Included,” if neither box is checked, or if both boxes are
  checked, the provision will be ineffective if set out later in the plan.

 1.1   A limit on the amount of a secured claim, pursuant
       to paragraph 8(b), which may result in a partial                 Included         Not Included
       payment or no payment at all to the secured
       creditor.
 1.2   Avoidance of a judicial lien or nonpossessory,
       nonpurchase money security interest. Any lien                    Included         Not Included
       avoidance shall occur by separate motion or
       proceeding, pursuant to paragraph 12.
 1.3   Nonstandard provisions, set out in paragraph 15.                 Included         Not Included

2. GENERAL PROVISIONS:

  (a) YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your
  attorney. If you oppose any provision of this plan, you must file a timely written objection. This plan
  may be confirmed without further notice or hearing unless a written objection is filed before the
  deadline stated on the separate Notice you receivedfrom the Court.

  (b) PROOFS OF CLAIM: You must file a proof of claim to receive distributions under the plan.
  Absent a Court order determining the amount of the secured claim, the filed proof of claim shall
  control as to the determination of pre-petition arrearages; secured and priority tax liabilities; other
  priority claims; and the amount required to satisfy and offer of payment in full. All claims that are
  secured by a security interest in real estate shall comply with the requirements of Federal Rule of
  Bankruptcy Procedure (“FRBP”)3001(c)(2)(C).

  (c) NOTICES RELATING TO MORTGAGES: As required by Local Rule B-3002.1-1, all
  creditors with claims secured by a security interest in real estate shall comply with the requirements of
  FRBP 3002.1 (b) and (c) without regard to whether the real estate is the Debtor's principal residence.
  If there is a change in the mortgage servicer while the bankruptcy is pending, the mortgage holder
  shall file with the Court and serve upon the Debtor, Debtor’s counsel and the Chapter 13 Trustee
  (“Trustee”) a Notice setting forth the change and providing the name of the new servicer, the payment
  address, a contact phone number and a contact e-mail address.
Case 19-00252-JJG-13           Doc 35      Filed 12/17/19       EOD 12/17/19 08:50:58            Pg 2 of 8
  (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Nonmortgage
  creditors in Section 8(c) (whose rights are not being modified) or in Section 11 (whose executory
  contracts/unexpired leases are being assumed) may continue to mail customary notices or coupons to
  the Debtor or the Trustee notwithstanding the automatic stay.

  (e) EQUAL MONTHLY PAYMENTS: As to payments required by paragraphs 7 and 8,
  the Trustee may increase the amount of any “Equal Monthly Amount” offered to appropriately
  amortize the claim. The Trustee shall be permitted to accelerate payments to any class of creditor for
  efficient administration of the case.

  (f) PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry
  of an order lifting the stay, no distributions shall be made on any secured claim relating to the subject
  collateral until such time as a timely amended deficiency claim is filed by such creditor and deemed
  allowed, or the automatic stay is re-imposed by further order of the Court.

3. SUBMISSION OF INCOME:

  Debtor submits to the supervision and control of the Trustee all or such portion of future earnings or
  other future income or specified property of the Debtor as is necessary for the execution of this plan.

4. PLAN TERMS:

  (a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay a total of $25,420.00 to the Trustee,
  starting not later than 30 days after the order for relief, over the first 11 months; then, commencing
  January 15, 2020, Debtor shall pay $2,517.00 per month for 6 months ($15,102.00); then,
  commencing July 15, 2020, Debtor shall pay $4,086.00 per month until all allowed claims are paid
  in full. It is Debtor’s intent to be a 100% repayment plan, and Debtor shall adjust the monthly
  Trustee payment in order to pay all allowed claims in full.

  Additional payments to Trustee and/or future changes to the periodic amount proposed are:
  None.

  (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C.
  §1306(a)(1) or if the Trustee discovers undisclosed property of the estate, then the Trustee may obtain
  such property or its proceeds to increase the total amount to be paid under the plan. However, if the
  Trustee elects to take less than 100% of the property to which the estate may be entitled OR less than
  the amount necessary to pay all allowed claims in full, then a motion to compromise and settle will be
  filed, and appropriate notice given.

  (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments
  owed to secured lenders require additional funds from the Debtor's income, the Debtor and the Trustee
  may agree that the Debtor(s) will increase the periodic payment amount or that the time period for
  making payments will be extended, not to exceed 60 months. Creditors will not receive notice of any
  such agreement unless the total amount that the Debtor(s) will pay to the Trustee decreases. Any party
  may request in writing, addressed to the Trustee at the address shown on the notice of the meeting of
  creditors, that the Trustee give that party notice of any such agreement. Agreements under this section
  cannot extend the term of the plan more than 6 additional months.

  (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion
  pursuant to 11 U.S.C. §1329. Service of any motion to modify this plan shall be made by the moving
  party as required by FRBP 2002(a)(5) and 3015(h), unless otherwise ordered by the Court.
Case 19-00252-JJG-13          Doc 35       Filed 12/17/19      EOD 12/17/19 08:50:58            Pg 3 of 8

5. PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR'S ATTORNEY FEES):

  NONE
  All allowed administrative claims will be paid in full by the Trustee unless the creditor agrees
  otherwise:

  Creditor                            Type of Claim                      Scheduled Amount




6. PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:

  (a) Ongoing Domestic Support Obligations. Debtor shall make any Domestic Support Obligation
  payments that are due after the filing of the case under a Domestic Support Order directly to the payee.

  NONE

  (b) Domestic Support Obligation Arrears.

  NONE
  The following arrearages on Domestic Support Obligations will be paid in the manner specified:

 Creditor                  Type of Claim                    Estimated Arrears    Treatment
Case 19-00252-JJG-13           Doc 35        Filed 12/17/19    EOD 12/17/19 08:50:58           Pg 4 of 8
7. PAYMENT OF SECURED CLAIMS RELATING SOLELY TO THE DEBTOR’S
PRINCIPAL RESIDENCE:

   NONE
   As required by Local Rule B-3015-1(a), if there is a pre-petition arrearage claim on a mortgage
   secured by the Debtor’s principal residence, then both the pre-petition arrearage and the post-petition
   mortgage installments shall be made through the Trustee. Initial post-petition payment arrears shall be
   paid with secured creditors. If there are no arrears, the Debtor may pay the secured creditor. Before
   confirmation, the payment to the mortgage lender shall be the regular monthly mortgage payment
   unless otherwise ordered by the Court or modified pursuant to an agreement with the mortgage lender.
   After confirmation, payment shall be as set forth below. Equal Monthly Amount and Estimated
   Arrears listed below shall be adjusted based on the filed claim and/or notice. Delinquent real estate
   taxes and homeowners’ association or similar dues should be treated under this paragraph.

 Creditor              Residential Address        Estimated Arrears   Equal        Select One for Mortgages
                                                                      Monthly              ONLY:
                                                                      Amount
                                                                                   Trustee         Direct
                                                                                   Pay             Pay
                       1st mortgage on
                       residene commonly          $81,011.20 **
                       referred to as 6445        See paragraph
                       Harrison Ridge Blvd.,      15(f) below as to
 Colonial National     Indianapolis, IN           Creditor
 Mortgage              46236                      Treatment           $2,491.24 XXXXXX
                       2nd mortgage on
                       residene commonly          $0.00 ** See
 Indiana Housing       referred to as 6445        paragraph 15(d)
 & Community           Harrison Ridge Blvd.,      below as to
 Development           Indianapolis, IN           Creditor
 Authority             46236                      Treatment           $0.00                     XXXXXX
                       Statutory lien on
                       residene commonly
                       referred to as 6445
 Harrison Ridge        Harrison Ridge Blvd.,
 Neighborhood          Indianapolis, IN           $1,586.53 @
 Association, Inc.     46236                      8.0% Interest       $0.00

No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments
made by the Trustee under the provisions of the Plan, unless allowed by Order of the Court.
Case 19-00252-JJG-13             Doc 35   Filed 12/17/19       EOD 12/17/19 08:50:58                  Pg 5 of 8
8. PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED UNDER
PARAGRAPH 7:

  (a) Secured Claims as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:

  NONE
  Pursuant to Local Rule B-3015-3, and unless otherwise ordered by the Court, prior to plan
  confirmation, as to secured claims not treated under paragraph 7 and as to which valuation under 11
  U.S.C. § 506 is not applicable, the Trustee shall pay monthly adequate protection payments equal to
  1% of a filed secured claim. The Trustee shall disburse such adequate protection payments to the
  secured creditor as soon as practicable after receiving plan payments from the Debtor, and the secured
  claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in
  paragraph 15, the Trustee will pay to the holder of each allowed secured claim the filed claim amount
  with interest at the rate stated in column 5.

(1)                 (2)                (3)            (4)                 (5)        (6)
Creditor            Collateral         Purchase       Estimated           Interest   Equal
                                       Date           Claim Amount        Rate       Monthly
                                                                                     Amount




(b) Secured Claims as to Which 11 U.S.C. § 506 Valuation is Applicable:

  NONE
  Pursuant to Local Rule B-3015-3, and unless otherwise ordered by the Court, prior to plan
  confirmation as to secured claims not treated under paragraph 7 but as to which § 506 valuation is
  applicable, the Trustee shall pay monthly adequate protection payments equal to 1% of the value of the
  collateral in column 5. The Trustee shall disburse such adequate protection payments to the secured
  creditor as soon as practicable after receiving plan payments from the Debtor, and the secured
  claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in
  paragraph 15, the Trustee will pay to the holder of each allowed secured claim the value amount in
  column 5 at the equal monthly amount in column 7 with interest at the rate stated in column 6.

(1)                 (2)                (3)            (4)                 (5)              (6)          (7)
Creditor            Collateral         Purchase       Scheduled           Value            Interest     Equal
                                       Date           Debt                                 Rate         Monthly
                                                                                                        Amount




  (c) Curing Defaults and/or Maintaining Payments:

  NONE
  Trustee shall pay the allowed claim for the arrearage, and Debtor shall pay regular post-petition
  contract payments directly to the creditor:

Creditor               Collateral/Type of Debt        Estimated Arrears        Interest Rate (if any)
Case 19-00252-JJG-13               Doc 35    Filed 12/17/19     EOD 12/17/19 08:50:58              Pg 6 of 8
  (d) Surrendered/Abandoned Collateral:

  NONE
  The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter 13 estate
  abandons any interest in, and the automatic stay pursuant to 11 U.S.C. § 362 is terminated as to, the
  listed collateral and the automatic stay pursuant to 11 U.S.C. §1301 is terminated in all respects. Any
  allowed unsecured claim resulting from the disposition of the collateral will be treated in paragraph
  10.(b) below. Upon confirmation, the secured creditor is free to pursue its in rem rights.

Creditor                             Collateral
                                     Surrendered/Abandoned           Scheduled Value of Property




9. SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:

  NONE
  All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest
  thereon (whether or not an interest factor is expressly offered by plan terms). All allowed priority
  claims shall be paid in full by the Trustee, exclusive of interest, unless the creditor agrees otherwise:

Creditor                    Type of Priority or Secured Claim     Scheduled    Treatment
                                                                  Debt
Internal Revenue            2014 US Federal Priority Income       $2,740.25    Paid in full through Trustee
Service                     Tax Liability                                      conduit without interest
Indiana Department          2014 Indiana State Secured            $469.96      Paid in full through Trustee
of Revenue                  Income Tax Liability                               conduit with interest
Indiana Department          2016 Indiana State Priority           $4,524.08    Paid in full through Trustee
of Revenue                  Income Tax Liability                               conduit without interest
Oregon Department           2014 Oregon State Priority            $227.10      Paid in full through Trustee
of Revenue                  Income Tax Liability                               conduit without interest


10. NON-PRIORITY UNSECURED CLAIMS:

  (a) Separately Classified or Long-term Debts:

  NONE

Creditor          Basis for             Treatment                           Amount         Interest (if any)
                  Classification
Navient     Long-term non-              To receive pro-rata         $13,011.00 Interest shall
Corporation dischargeable               distribution with other                continue to accrue
                  student loan          general unsecured creditors            pursuant to the
                                                                               original contract


  (b) General Unsecured Claims:

           Pro rata distribution from any remaining funds; or
           Other: 100% of allowed claims to be paid in full.
Case 19-00252-JJG-13            Doc 35      Filed 12/17/19           EOD 12/17/19 08:50:58        Pg 7 of 8
11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

   NONE
   All executory contracts and unexpired leases are REJECTED, except the following, which are
   assumed:

 Creditor                          Property Description                 Treatment
 Aspen Square Management           Apartment lease agreement            ASSUMED


12. AVOIDANCE OF LIENS:

   NONE
   Debtor will file a separate motion or adversary proceeding to avoid the following nonpurchase
   money security interests, judicial liens, wholly unsecured mortgages or other liens that impair
   exemptions:

 Creditor                          Collateral/Property Description      Amount of Lien to be Avoided




13. LIEN RETENTION: With respect to each allowed secured claim provided for by
   the plan, the holder of such claim shall retain its lien securing such claim until the earlier of a) the
   payment of the underlying debt determined under non-bankruptcy law or b) entry of a discharge order
   under 11 U.S.C. § 1328.

14. VESTING OF PROPERTY OF THE ESTATE: Except as necessary to fund the plan or as
   expressly retained by the plan or confirmation order, the property of the estate shall revest in the
   Debtor upon confirmation of the Debtor’s plan, subject to the rights of the Trustee, if any, to assert
   claim to any additional property of the estate acquired by the Debtor post-petition pursuant to
   operation of 11 U.S.C. § 1306.

15. NONSTANDARD PROVISIONS:

   NONE
   Under FRBP 3015(c), nonstandard provisions are required to be set forth below. Any nonstandard
   provision placed elsewhere in the plan is void. These plan provisions will be effective only if the
   included box in Paragraph 1.3 of this plan is checked.

   (a) Monthly plan payments shall be made by             direct payment or via        Wage Assignment.

   (b) Debtor acknowledges that taxing authorities may continue to assess post-petition interest on any
       tax liabilities which are non-dischargeable; therefore, Debtor shall contact the taxing authorities
       after a Discharge Order is entered, in order to make payment arrangements on any tax liabilities
       which may remain due and owing.

   (c) Pursuant to 11 U.S.C. §1326, Sections 8(a) and 8(b) of this Chapter 13 Plan shall be clarified as
       follows: Notwithstanding the date this Chapter 13 Plan is confirmed, the Creditor(s) shall
       continue to receive Adequate Protection Payments until all Administrative Claims are paid in full.
       In other words, the Creditor(s) shall not receive Equal Monthly Amounts until the month after all
       Administrative Claims are paid in full.
Case 19-00252-JJG-13          Doc 35      Filed 12/17/19       EOD 12/17/19 08:50:58           Pg 8 of 8

  (d) Creditor is owed $0.00 arrears as of the petition date and regular monthly installment payments are
      not due until certain events occur as specified in the underlying note. Therefore, neither the Debtor
      nor the Trustee shall make payments to the Indiana Housing & Community Development
      Authority while the case is pending, but said creditor shall retain a lien on the underlying real
      estate pursuant to the terms of the underlying note and mortgage executed by the Debtor.

  (e) Debtor shall report to the Trustee as to whether Debtor receives any proceeds from the Personal
      Injury Products Liability Class Action lawsuit, currently pending in the Southern District of
      Illinois under Case No. 3:16-cv-00638-DRH, and the Court shall make a final determination as to
      what portion io any of these proceeds are turned over to the Chapter 13 Trustee for benefit of
      creditors.

  (f) Creditor Colonial National Mortgage shall be paid $1,682.68 to pay the Interest plus Escrow
      amount of the monthly mortgage payment (estimated from last statement from Creditor dated
      December 17, 2018), through the Chapter 13 Trustee conduit, as Adequate Protection,
      distributions from the Trustee to commence for that amount May 2019 and end December 2019.
      Then, commencing January, 2020, Creditor Colonial National Mortgage shall be paid $2,491.24
      per month through the Chapter 13 Trustee conduit, as Adequate Protection, until the real estate is
      sold. Debtor is selling his residence and believes there will be adequate equity therein to pay
      Creditor in full. Debtor believes he will be able to sell real estate prior to September 1, 2020.
      Creditor shall cease to receive conduit payments upon the sale of real estate. Debtor shall file a
      Motion to Sell prior to the closing date for this Court to approve the sale of real estate.



Dated: 12/15/2019

                                                                 /s/ Johnny Darrell Lorick
                                                                 Johnny Darrell Lorick


                                                                 /s/ Michael J. Norris
                                                                 Michael J. Norris (# 15341-49)
                                                                 Mike Norris & Associates, P.C.
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                                                                 Fax: (317) 266-3401
                                                                 E-mail: mike@mikenorrislaw.com


By filing this document, the Debtor, if not represented by an attorney, or the Attorney for
the Debtor also certifies that the wording and order of the provisions in this Chapter 13
plan are identical to those contained in the form plan adopted by this Court, other than any
nonstandard provisions included in paragraph 15.
